Case 2:16-cv-13662-LJM-SDD ECF No. 155, PageID.13061 Filed 11/05/19 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

 ABDULLAH HAYDAR,

        Plaintiff,                                Case No. 2:16-cv-13662-LJM-SDD
                                                  Honorable Laurie J. Michelson
 v.                                               Magistrate Judge Stephanie Dawkins Davis

 AMAZON CORPORATE, LLC,
 GARRET GAW,
 PETER FARICY, and
 JOEL MOSBY,

        Defendants.

      ORDER REGRADING MOTION IN LIMINE TO EXCLUDE REFERENCE TO
                 STEFAN HANEY INVESTIGATION [138] AND
      MOTION IN LIMINE TO EXCLUDE EVIDENCE OF AMAZON’S CURRENT
                  PERFORMANCE REVIEW PROCESSES [144]


        For the reasons stated on the record on October 17, 2019, the Court GRANTS IN PART

 and DENIES IN PART Defendants’ motion in limine for an order barring admission of, and

 reference to investigation of Stefan Haney’s workplace behavior, and his ultimate termination

 from Amazon. (ECF No. 138.)

        Further, on the record on October 17, 2019, the Court provided that it would wait to hear

 the testimony at trial to decide whether to permit Plaintiff to introduce evidence of Amazon’s

 current performance-review process. At trial, Plaintiff did not seek to introduce evidence of

 Amazon’s current performance-review process. Accordingly, Amazon’s motion in limine to

 exclude that evidence (ECF No. 144) is DENIED AS MOOT.

        SO ORDERED.

        Dated: November 5, 2019
                                     s/Laurie J. Michelson
                                     LAURIE J. MICHELSON
                                     UNITED STATES DISTRICT JUDGE
